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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 United States of America, et al.,

                                Plaintiffs,           Case No. 1:20-cv-03010-APM

v.                                                    HON. AMIT P. MEHTA

 Google LLC,

                                Defendant.



     NON-PARTY APPLE INC.’S POSITION STATEMENT ON PROTECTIVE ORDER

        Pursuant to the Court’s November 11, 2020 Minute Order, Non-Party Apple Inc.

(“Apple”) submits this position statement regarding the Parties’ proposals on a protective order.

Apple respectfully requests that this Court adopt a protective order permitting third parties to

designate their most sensitive confidential information as “Highly Confidential” material

accessible to outside counsel for Defendant Google LLC (“Google”) but not to Google’s in-

house counsel. To the extent the Court adopts Google’s proposal, Apple respectfully requests the

opportunity and adequate time to make additional objections based upon the specifics of

discovery and the in-house counsel Google identifies. There is substantial risk that disclosure of

Apple’s highly confidential material to employees of Google, including in-house counsel, would

result in material harm to Apple.

        In response to compulsory process, Apple has produced non-public, highly confidential,

competitively sensitive material to the United States Department of Justice (the “DOJ”) during

its investigation of Google. These materials include information and documents about Apple’s

highly-negotiated arm’s length contracts with Google and its closest search engine competitors,

as well as Apple’s internal consideration and analysis of search engines relevant to its current
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and future business planning and competitive strategies. Based on the allegations made in the

Complaint regarding contracts between Apple and Google and Apple’s relationship with

Google’s closest competitors, additional highly confidential information relating to Apple’s

business is very likely to be sought through the discovery process. See, Compl. ¶¶ 45-46, 49, 56,

85-86, 118-22. Because Google is not only a fierce competitor to Apple in the development of

mobile operating system software, app stores, and mobile devices, but is also a counterparty to

material business agreements for internet search services that are poised to be material points of

discovery and dispute in this case, Apple respectfully requests that the Court prevent disclosure

of certain highly confidential Apple materials to in-house counsel for Google.

I.     HIGHLY CONFIDENTIAL INFORMATION SHOULD NOT BE DISCLOSED
       TO GOOGLE'S IN-HOUSE COUNSEL

       This case is not a case like Sysco, in which competitively sensitive information of non-

parties was part of an analysis of competitive dynamics in a market before and after a merger.

Rather, specific claims in the Complaint relate to the terms of an operative agreement between

Apple and Google which is subject to renegotiation in the future that would necessarily involve

in-house counsel at Google. See Compl. ¶¶ 118-122. It follows that Apple’s highly confidential

information sought in discovery would include terms of Apple’s agreements with Google’s

search engine competitors, Apple’s projections and financial results relating to its search

agreements, and Apple’s internal deliberations during adversarial negotiations around

agreements with Google and its competitors. Disclosure of this information to Google would

directly implicate future business dealings between Apple and Google, provide Google with a

substantial advantage over Apple in negotiations, and potentially disadvantage competitor search

engines that negotiate with Apple and other software providers. See, United States v. Aetna Inc.,

Case No. 1:16-cv-01494 (JDB), 2016 WL 8738420, at *6 (D.D.C. Sept. 5, 2016) (noting that


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information about rates negotiated with Defendant’s competitors, projections, or cost and

profitability data “could provide the Defendants with a significant advantage in future

negotiations with these [non-parties]”). Further, because Apple and Google compete in

developing mobile operating system software, app stores, and devices, documents about Apple’s

strategy to optimize user experience and differentiate its products could also give Google a

substantial competitive advantage.

       Apple has no reason to doubt the integrity of Google’s in-house counsel, nor their

willingness to comply with a protective order. However, “good intentions are insufficient to

prevent inadvertent disclosure of confidential information because it is not possible for counsel

to ‘lock-up trade secrets in [her] mind.’” Intel Corp. v. VIA Techs., Inc., 198 F.R.D. 525, 531

(N.D. Cal. 2000) (alteration in original) (quoting Brown Bag Software v. Symantec Corp., 960

F.2d 1465, 1471 (9th Cir. 1992)); see also FTC v. Exxon Corp., 636 F.2d 1336, 1350 (D.C. Cir.

1980). Apple acknowledges that this Court adopted a protective order in Sysco that permitted

access to confidential information for in-house counsel of the defendants who submitted an

affidavit certifying that they were not involved in “competitive decision-making.” Order at ¶ 4,

FTC v. Sysco Corp., Civ. No. 1:15-cv-00256 (APM) (D.D.C. Mar. 5, 2015), ECF No. 48

(citation omitted). However, “fundamental fairness” to the parties in a litigation does not require

in-house counsel to have access to highly confidential third-party documents, especially where

capable outside counsel of record has access. New York v. Microsoft Corp., No. Civ.A. 98–1233

CKK, 2002 WL 31628220, at *2 (D.D.C. Nov. 18, 2002) (citation omitted); see also Autotech

Techs. Ltd. P'ship v. Automationdirect.com, Inc., 237 F.R.D. 405, 407 (N.D. Ill. 2006) (stating

that “attorneys’-eyes-only” protective orders “have become de rigeur, at least where outside

counsel are to have access to the information”). Courts routinely deny a party’s in-house counsel



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access to non-party confidential information not only when in-house counsel have direct

responsibilities for competitive decision-making, but also when in-house counsel report to or

advise business decision-makers. See, e.g., Exxon, 636 F.2d at 1350 (denying access to in-house

counsel because “their continuing employment often intimately involves them in the

management and operation of the corporation of which they are a part”); Intel, 198 F.R.D. at 530

(denying access to an in-house lawyer who reported to a vice president of defendant with a

competitive decision-making role). Courts, including this district, have regularly prevented in-

house counsel from accessing highly sensitive information from non-parties in antitrust actions.1

       As this Court stated in Sysco, the critical inquiry is “whether a designated in-house

lawyer is ‘positioned to advise the client as to business decisions that the client would make

regarding [competitive decision-making].’” FTC v. Sysco Corp., 83 F. Supp. 3d 1, 3 (D.D.C.

2015) (citing FTC v. Whole Foods Mkt., Inc., Civil Action No. 07-1021 (PLF), 2007 WL

2059741, at *2 (D.D.C. July 6, 2007) (emphasis added); see also U.S. Steel Corp. v. United

States, 730 F.2d 1465, 1468 n.3 (Fed. Cir. 1984). The concern around “competitive decision-

making” is “the risk that such information will be used or disclosed inadvertently because of the

lawyer’s role in the client’s business decisions.” Sysco, 83 F. Supp. 3d at 3. Courts should

“preclude access to information to anyone who was positioned to advise the client as to business

decisions that the client would make regarding, for example, pricing, marketing, or design issues

when that party granted access has seen how a competitor has made those decisions.” Whole

Foods, 2007 WL 2059741, at *2. There is substantial risk that it would be impossible for

Google’s in-house counsel to disentangle their duty to provide zealous legal advice regarding the



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    See, e.g., United States v. Aetna, No. 16-cv-01494, ECF No. 132 (D.D.C. Sept. 30, 2016);
    United States v. Anthem, ECF No. 16-cv-01493, ECF No. 161 (D.D.C. Sept. 26, 2016).


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Plaintiffs’ claims about contractual terms between Apple and Google from the highly

confidential business information learned about Apple’s analysis, considerations, and economic

incentives surrounding its Google contract and contracts with Google’s search engine

competitors. See Exxon, 636 F.2d at 1350 (“[I]t is very difficult for the human mind to

compartmentalize and selectively suppress information once learned, no matter how well-

intentioned the effort may be to do so.”). Thus, there is an “unacceptably high risk of either

utilization or inadvertent disclosure . . . to the severe detriment of [a non-party]”; and, at a

minimum, it is incumbent on the Defendant to provide an “extraordinary detailing of the

circumstances warranting disclosure” and “an explanation of why reliance on the representations

and opinions of outside counsel would not be adequate.” United States v. Dentsply Int'l, Inc., 187

F.R.D. 152, 161-62 (D. Del. 1999). Google has not done so.

       Due to the high risk of harm that would result from disclosure of its highly sensitive

information to Google, Apple respectfully submits that the issues before the Court in this

litigation differ from those in Sysco and warrant limiting access to the most sensitive third-party

information to Google’s outside counsel only. A number of courts have adopted such a two-tier

confidentiality system, in which in-house counsel of defendants could not access information

marked in a higher confidentiality tier.2 One recent protective order in an antitrust case applying

a two-tier structure also required an affidavit confirming “she does not participate in Competitive

Decisionmaking for her employer” and would “not participate in negotiations of commercial


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    See, e.g., Protective Order at ¶ A(1)(g)(i), United States v. Sabre Corp., No. 19-cv-1548 (D.
    Del. Sept. 10, 2019), ECF No. 24; see also Protective Order at ¶ 4, FTC v. Vyera Pharms.,
    No. 20-cv-00706, ECF No. 92 (S.D.N.Y. Apr. 20, 2020) Protective Order at ¶ E(2), New
    York v. Deutsche Telekom AG, No. 19-cv-05434 (S.D.N.Y. Aug. 14, 2019), ECF No. 185;
    Protective Order at ¶ 7.3, United States v. Bazaarvoice, Inc., No. 13-cv-00133, (N.D. Cal.
    Mar. 4, 2013), ECF No. 35; Protective Order at ¶ 14, United States v. Am. Express Co. No.
    10-cv-4496, (E.D.N.Y. April 7, 2011), ECF No. 102.


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agreements between her employer and any Protected Person” for a specified period of time.

Protective Order at ¶ 1(g)(i), United States v. Sabre Corp., No. 19-cv-1548 (D. Del. filed Sept.

10, 2019), ECF No. 24. If this Court adopts a two-tier system, Apple would expect to designate

only a subset of documents for the highest tier of protection. Such a system would preserve the

ability for Google to later seek access, as it could object to Apple’s designations as they pertain

to specific documents if disputes about confidentiality designations arise or if Google can

articulate a specific justification why in-house counsel must have access to specific information.

II. GOOGLE’S PROPOSAL DOES NOT ADEQUATELY PROTECT THIRD PARTIES

       Google’s proposed Protective Order would have its as-yet unidentified in-house counsel

attest that they are not involved in “competitive decision-making,” without meaningful definition

of the term, rendering their proposal an abstraction. See Def.’s Submission Regarding Proposed

Protective Order Ex. A, at Annex B ¶ 1, ECF No. 33-1. While Google’s draft in-house affidavit

states that the undersigned do not have responsibility for “pricing strategies,” “strategies to

compete with our competitors,” and “competition-related issues,” id., this language says nothing

about whether the in-house counsel have a role related to Google’s contracts with Apple or

advise those who do. Without even identifying the in-house counsel it proposes should have

access to third-party materials, Google argues that because the Court has provided non-parties

the opportunity to file position statements, “it is not clear that any further time for notice and

objection is necessary” and that additional opportunity to object is “largely redundant.” Def.’s

Submission Regarding Proposed Protective Order 5-6, ECF No. 33. If this Court does allow in-

house counsel access to third-party materials, Apple respectfully submits that it is critical that

third parties be afforded at least ten days, as proposed by the DOJ, to raise objections about the

individual in-house counsel identified by Google. Such opportunity is not “redundant” because

third parties may have objections to specific Google in-house counsel and should be afforded the

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opportunity to object if necessary to protect their information. Google’s vague position around

“competitive decision-making,” its failure to identify proposed in-house counsel, and insistence

on moving with haste, illustrate why the Court should rely on third parties to designate truly

sensitive materials as “Highly Confidential” rather than relying on Google, which does not have

the same incentives to protect the information. See FTC v. Advoc. Health Care Network, 162 F.

Supp. 3d 666, 673 (N.D. Ill. 2016) (“neither the FTC nor certainly the defendants had any concern

about [third parties’] confidential information” and “the parties had no incentive to take special care

of any third parties”).

III.    PLAINTIFFS SHOULD NOT BE PERMITTED TO UTILIZE CONFIDENTIAL
        INFORMATION IN OTHER PROCEEDINGS

        Apple objects to the provisions in both parties’ proposals that would permit Plaintiffs to

disclose third-party confidential information in the course of “any other legal proceeding” in

which a Plaintiff is a party and further objects to the Plaintiffs’ proposal that Plaintiffs may make

such disclosures without providing any notice to third parties. The parties have not articulated

good reason why the protective order should permit the disclosure of sensitive third-party

information in other proceedings, which may not be subject to the same level of confidentiality

protections ultimately adopted by this Court.

                                           CONCLUSION

        For the foregoing reasons, Apple requests that the protective order utilize a two tier

system which limits Highly Confidential materials to Plaintiffs and outside counsel of Google

and that Plaintiffs not be permitted to utilize third-party materials in “any other legal proceeding”

in which they are parties. If this Court allows in-house counsel to access third-party highly

confidential materials, Apple requests the opportunity to object to Google’s proposed in-house

counsel ten days after those individuals are identified.


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Dated: November 20, 2020                  Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on November 20, 2020, the foregoing document was electronically

submitted with the clerk of the court for the United States District Court, District of Columbia,

using the electronic case file system of the court. The electronic case file system sent a “Notice

of Electronic Filing” to all counsel of record.

                                                  By: /s/ Steven C. Sunshine
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